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 8
                                 UNITED STATES DISTRICT COURT
 9
10                              CENTRAL DISTRICT OF CALIFORNIA

11   BREAKING CODE SILENCE, a                      ) Case No. 2:22-cv-002052-MAA
     California 501(c)(3) nonprofit,               )
12
                   Plaintiff,                      ) STIPULATED PROTECTIVE ORDER
13                                                 )
           vs.                                     )
14
     KATHERINE MCNAMARA, an                        )
15   Individual; JEREMY WHITELEY, an               )
     individual; and DOES 1 through 50,            )
16   inclusive,
                                                   )
17                 Defendants.                     )
18                                                 )

19
     1.    PURPOSES AND LIMITATIONS
20
           Discovery in this action is likely to involve production of confidential, proprietary,
21
     or private information for which special protection from public disclosure and from use
22
     for any purpose other than prosecuting this litigation may be warranted. Accordingly, the
23
     parties hereby stipulate to and petition the Court to enter the following Stipulated
24
     Protective Order. The parties acknowledge that this Stipulated Protective Order does not
25
     confer blanket protections on all disclosures or responses to discovery and that the
26
     protection it affords from public disclosure and use extends only to the limited
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     information or items that are entitled to confidential treatment under the applicable legal
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                                  [PROPOSED] PROTECTIVE ORDER
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 1   principles. The parties further acknowledge, as set forth in Section 13.3 below, that this
 2   Stipulated Protective Order does not entitle them to file confidential information under
 3   seal; Local Rule 79-5 sets forth the procedures that must be followed and the standards
 4   that will be applied when a party seeks permission from the Court to file material under
 5   seal.
 6
 7   2.      GOOD CAUSE STATEMENT
 8           This action is likely to involve confidential financial information of BCS, its
 9   executives and third-party donors, and other valuable research, development,
10   commercial, financial, technical and/or proprietary information for which special
11   protection from public disclosure and from use for any purpose other than prosecution of
12   this action is warranted. Such confidential and proprietary materials and information
13   consist of, among other things, confidential business or financial information,
14   information regarding confidential business practices, or other confidential research,
15   development, or commercial information (including information implicating privacy
16   rights of third parties), information otherwise generally unavailable to the public, or
17   which may be privileged or otherwise protected from disclosure under state or federal
18   statutes, court rules, case decisions, or common law. Accordingly, to expedite the flow of
19   information, to facilitate the prompt resolution of disputes over confidentiality of
20   discovery materials, to adequately protect information the parties are entitled to keep
21   confidential, to ensure that the parties are permitted reasonable necessary uses of such
22   material in preparation for and in the conduct of trial, to address their handling at the end
23   of the litigation, and to serve the ends of justice, a protective order for such information is
24   justified in this matter. It is the intent of the parties that information will not be
25   designated as confidential for tactical reasons and that nothing be so designated without a
26   good faith belief that it has been maintained in a confidential, non-public manner, and
27   there is good cause why it should not be part of the public record of this case.
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                                [PROPOSED] PROTECTIVE ORDER
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 1   3.    DEFINITIONS
 2                 3.1. Action: This pending federal lawsuit.
 3                 3.2. Challenging Party: A Party or Nonparty that challenges the designation
 4         of information or items under this Stipulated Protective Order.
 5                 3.3. “CONFIDENTIAL” Information or Items: Information (regardless of
 6         how it is generated, stored or maintained) or tangible things that qualify for
 7         protection under Federal Rule of Civil Procedure 26(c), and as specified above in
 8         the Good Cause Statement.
 9                 3.4. Counsel: Outside Counsel of Record and In-House Counsel (as well as
10         their support staff).
11                 3.5. Designating Party: A Party or Nonparty that designates information or
12         items that it produces in disclosures or in responses to discovery as
13         “CONFIDENTIAL.”
14                 3.6. Disclosure or Discovery Material: All items or information, regardless
15         of the medium or manner in which it is generated, stored, or maintained (including,
16         among other things, testimony, transcripts, and tangible things), that is produced or
17         generated in disclosures or responses to discovery in this matter.
18                 3.7. Expert: A person with specialized knowledge or experience in a matter
19         pertinent to the litigation who has been retained by a Party or its counsel to serve
20         as an expert witness or as a consultant in this Action.
21                 3.8. In-House Counsel: Attorneys who are employees of a party to this
22         Action. In-House Counsel does not include Outside Counsel of Record or any
23         other outside counsel.
24                 3.9. Nonparty: Any natural person, partnership, corporation, association, or
25         other legal entity not named as a Party to this action.
26                 3.10. Outside Counsel of Record: Attorneys who are not employees of a
27         party to this Action but are retained to represent or advise a party to this Action
28         and have appeared in this Action on behalf of that party or are affiliated with a law
     ____________________________________________________________________________________________________
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                                [PROPOSED] PROTECTIVE ORDER
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 1            firm which has appeared on behalf of that party, and includes support staff.
 2                  3.11. Party: Any party to this Action, including all of its officers, directors,
 3            employees, consultants, retained experts, In-House Counsel, and Outside Counsel
 4            of Record (and their support staffs).
 5                  3.12. Producing Party: A Party or Nonparty that produces Disclosure or
 6            Discovery Material in this Action.
 7                  3.13. Professional Vendors: Persons or entities that provide litigation
 8            support services (e.g., photocopying, videotaping, translating, preparing exhibits or
 9            demonstrations, and organizing, storing, or retrieving data in any form or medium)
10            and their employees and subcontractors.
11                  3.14. Protected Material: Any Disclosure or Discovery Material that is
12            designated as “CONFIDENTIAL.”
13                  3.15. Receiving Party: A Party that receives Disclosure or Discovery
14            Material from a Producing Party.
15
16   4.       SCOPE
17            The protections conferred by this Stipulated Protective Order cover not only
18   Protected Material, but also (1) any information copied or extracted from Protected
19   Material; (2) all copies, excerpts, summaries, or compilations of Protected Material; and
20   (3) any testimony, conversations, or presentations by Parties or their Counsel that might
21   reveal Protected Material.
22            Any use of Protected Material at trial shall be governed by the orders of the trial
23   judge. This Stipulated Protective Order does not govern the use of Protected Material at
24   trial.
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                                 [PROPOSED] PROTECTIVE ORDER
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 1   5.    DURATION
 2         Even after final disposition of this litigation, the confidentiality obligations
 3   imposed by this Stipulated Protective Order shall remain in effect until a Designating
 4   Party agrees otherwise in writing or a court order otherwise directs. Final disposition
 5   shall be deemed to be the later of (1) dismissal of all claims and defenses in this Action,
 6   with or without prejudice; and (2) final judgment herein after the completion and
 7   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action, including
 8   the time limits for filing any motions or applications for extension of time pursuant to
 9   applicable law.
10
11   6.    DESIGNATING PROTECTED MATERIAL
12         6.1. Exercise of Restraint and Care in Designating Material for Protection.
13                 Each Party or Nonparty that designates information or items for protection
14         under this Stipulated Protective Order must take care to limit any such designation
15         to specific material that qualifies under the appropriate standards. The Designating
16         Party must designate for protection only those parts of material, documents, items,
17         or oral or written communications that qualify so that other portions of the
18         material, documents, items, or communications for which protection is not
19         warranted are not swept unjustifiably within the ambit of this Stipulated Protective
20         Order.
21                 Mass, indiscriminate, or routinized designations are prohibited. Designations
22         that are shown to be clearly unjustified or that have been made for an improper
23         purpose (e.g., to unnecessarily encumber the case development process or to
24         impose unnecessary expenses and burdens on other parties) may expose the
25         Designating Party to sanctions.
26         6.2. Manner and Timing of Designations.
27                 Except as otherwise provided in this Stipulated Protective Order (see, e.g.,
28         Section 6.2(a)), or as otherwise stipulated or ordered, Disclosure or Discovery
     ____________________________________________________________________________________________________
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                                [PROPOSED] PROTECTIVE ORDER
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 1         Material that qualifies for protection under this Stipulated Protective Order must be
 2         clearly so designated before the material is disclosed or produced.
 3                 Designation in conformity with this Stipulated Protective Order requires the
 4         following:
 5                        (a) For information in documentary form (e.g., paper or electronic
 6                 documents, but excluding transcripts of depositions or other pretrial or trial
 7                 proceedings), that the Producing Party affix at a minimum, the legend
 8                 “CONFIDENTIAL” to each page that contains protected material. If only a
 9                 portion or portions of the material on a page qualifies for protection, the
10                 Producing Party also must clearly identify the protected portion(s) (e.g., by
11                 making appropriate markings in the margins).
12                        A Party or Nonparty that makes original documents available for
13                 inspection need not designate them for protection until after the inspecting
14                 Party has indicated which documents it would like copied and produced.
15                 During the inspection and before the designation, all of the material made
16                 available for inspection shall be deemed “CONFIDENTIAL.” After the
17                 inspecting Party has identified the documents it wants copied and produced,
18                 the Producing Party must determine which documents, or portions thereof,
19                 qualify for protection under this Stipulated Protective Order. Then, before
20                 producing the specified documents, the Producing Party must affix the
21                 legend “CONFIDENTIAL” to each page that contains Protected Material. If
22                 only a portion or portions of the material on a page qualifies for protection,
23                 the Producing Party also must clearly identify the protected portion(s) (e.g.,
24                 by making appropriate markings in the margins).
25                        (b) For testimony given in depositions, that the Designating Party
26                 identify the Disclosure or Discovery Material on the record, before the close
27                 of the deposition, all protected testimony.
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                                [PROPOSED] PROTECTIVE ORDER
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 1                           (c) For information produced in nondocumentary form, and for any
 2                    other tangible items, that the Producing Party affix in a prominent place on
 3                    the exterior of the container or containers in which the information is stored
 4                    the legend “CONFIDENTIAL.” If only a portion or portions of the
 5                    information warrants protection, the Producing Party, to the extent
 6                    practicable, shall identify the protected portion(s).
 7             6.3. Inadvertent Failure to Designate.
 8                    If timely corrected, an inadvertent failure to designate qualified information
 9             or items does not, standing alone, waive the Designating Party’s right to secure
10             protection under this Stipulated Protective Order for such material. Upon timely
11             correction of a designation, the Receiving Party must make reasonable efforts to
12             assure that the material is treated in accordance with the provisions of this
13             Stipulated Protective Order.
14
15   7.        CHALLENGING CONFIDENTIALITY DESIGNATIONS
16             7.1. Timing of Challenges.
17                    Any Party or Nonparty may challenge a designation of confidentiality at any
18             time that is consistent with the Court’s Scheduling Order.
19             7.2. Meet and Confer.
20                    The Challenging Party shall initiate the dispute resolution process, which
21             shall comply with Local Rule 37.1 et seq., and with Section 4 of Judge Audero’s
22             Procedures (“Mandatory Telephonic Conference for Discovery Disputes”).1
23             7.3. Burden of Persuasion.
24                    The burden of persuasion in any such challenge proceeding shall be on the
25             Designating Party. Frivolous challenges, and those made for an improper purpose
26
27
28
     1
               Judge Audero’s Procedures are available at https://www.cacd.uscourts.gov/honorable-maria-
     audero.
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                                    [PROPOSED] PROTECTIVE ORDER
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 1         (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
 2         expose the Challenging Party to sanctions. Unless the Designating Party has
 3         waived or withdrawn the confidentiality designation, all parties shall continue to
 4         afford the material in question the level of protection to which it is entitled under
 5         the Producing Party’s designation until the Court rules on the challenge.
 6
 7   8.    ACCESS TO AND USE OF PROTECTED MATERIALS
 8         8.1. Basic Principles.
 9                 A Receiving Party may use Protected Material that is disclosed or produced
10         by another Party or by a Nonparty in connection with this Action only for
11         prosecuting, defending, or attempting to settle this Action. Such Protected Material
12         may be disclosed only to the categories of persons and under the conditions
13         described in this Stipulated Protective Order. When the Action reaches a final
14         disposition, a Receiving Party must comply with the provisions of Section 14
15         below.
16                 Protected Material must be stored and maintained by a Receiving Party at a
17         location and in a secure manner that ensures that access is limited to the persons
18         authorized under this Stipulated Protective Order.
19         8.2. Disclosure of “CONFIDENTIAL” Information or Items.
20                 Unless otherwise ordered by the Court or permitted in writing by the
21         Designating Party, a Receiving Party may disclose any information or item
22         designated “CONFIDENTIAL” only to:
23                 (a) The Receiving Party’s Outside Counsel of Record, as well as employees
24         of said Outside Counsel of Record to whom it is reasonably necessary to disclose
25         the information for this Action;
26                 (b) The officers, directors, and employees (including In-House Counsel) of
27         the Receiving Party to whom disclosure is reasonably necessary for this Action;
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                                [PROPOSED] PROTECTIVE ORDER
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 1                 (c) Experts of the Receiving Party to whom disclosure is reasonably
 2         necessary for this Action and who have signed the “Acknowledgment and
 3         Agreement to Be Bound” (Exhibit A);
 4                 (d) The Court and its personnel;
 5                 (e) Court reporters and their staff;
 6                 (f) Professional jury or trial consultants, mock jurors, and Professional
 7         Vendors to whom disclosure is reasonably necessary or this Action and who have
 8         signed the “Acknowledgment and Agreement to be Bound” (Exhibit A);
 9                 (g) The author or recipient of a document containing the information or a
10         custodian or other person who otherwise possessed or knew the information;
11                 (h) During their depositions, witnesses, and attorneys for witnesses, in the
12         Action to whom disclosure is reasonably necessary provided: (i) the deposing party
13         requests that the witness sign the “Acknowledgment and Agreement to Be Bound”
14         (Exhibit A); and (ii) the witness will not be permitted to keep any confidential
15         information unless they sign the “Acknowledgment and Agreement to Be Bound,”
16         unless otherwise agreed by the Designating Party or ordered by the Court. Pages of
17         transcribed deposition testimony or exhibits to depositions that reveal Protected
18         Material may be separately bound by the court reporter and may not be disclosed
19         to anyone except as permitted under this Stipulated Protective Order; and
20                 (i) Any mediator or settlement officer, and their supporting personnel,
21         mutually agreed upon by any of the parties engaged in settlement discussions.
22
23   9.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
24         OTHER LITIGATION
25         If a Party is served with a subpoena or a court order issued in other litigation that
26   compels disclosure of any information or items designated in this action as
27   “CONFIDENTIAL,” that Party must:
28
     ____________________________________________________________________________________________________
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                                [PROPOSED] PROTECTIVE ORDER
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 1                  (a) Promptly notify in writing the Designating Party. Such notification shall
 2          include a copy of the subpoena or court order;
 3                  (b) Promptly notify in writing the party who caused the subpoena or order to
 4          issue in the other litigation that some or all of the material covered by the subpoena
 5          or order is subject to this Stipulated Protective Order. Such notification shall
 6          include a copy of this Stipulated Protective Order; and
 7                  (c) Cooperate with respect to all reasonable procedures sought to be pursued
 8          by the Designating Party whose Protected Material may be affected.
 9          If the Designating Party timely seeks a protective order, the Party served with the
10   subpoena or court order shall not produce any information designated in this action as
11   “CONFIDENTIAL” before a determination by the Court from which the subpoena or
12   order issued, unless the Party has obtained the Designating Party’s permission. The
13   Designating Party shall bear the burden and expense of seeking protection in that court of
14   its confidential material and nothing in these provisions should be construed as
15   authorizing or encouraging a Receiving Party in this Action to disobey a lawful directive
16   from another court.
17
18   10.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
19          PRODUCED IN THIS LITIGATION
20          10.1. Application.
21                  The terms of this Stipulated Protective Order are applicable to information
22          produced by a Nonparty in this Action and designated as “CONFIDENTIAL.”
23          Such information produced by Nonparties in connection with this litigation is
24          protected by the remedies and relief provided by this Stipulated Protective Order.
25          Nothing in these provisions should be construed as prohibiting a Nonparty from
26          seeking additional protections.
27
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                                 [PROPOSED] PROTECTIVE ORDER
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 1          10.2. Notification.
 2                  In the event that a Party is required, by a valid discovery request, to produce
 3          a Nonparty’s confidential information in its possession, and the Party is subject to
 4          an agreement with the Nonparty not to produce the Nonparty’s confidential
 5          information, then the Party shall:
 6                  (a) Promptly notify in writing the Requesting Party and the Nonparty that
 7          some or all of the information requested is subject to a confidentiality agreement
 8          with a Nonparty;
 9                  (b) Promptly provide the Nonparty with a copy of the Stipulated Protective
10          Order in this Action, the relevant discovery request(s), and a reasonably specific
11          description of the information requested; and
12                  (c) Make the information requested available for inspection by the Nonparty,
13          if requested.
14          10.3. Conditions of Production.
15                  If the Nonparty fails to seek a protective order from this Court within
16          fourteen (14) days after receiving the notice and accompanying information, the
17          Receiving Party may produce the Nonparty’s confidential information responsive
18          to the discovery request. If the Nonparty timely seeks a protective order, the
19          Receiving Party shall not produce any information in its possession or control that
20          is subject to the confidentiality agreement with the Nonparty before a
21          determination by the Court. Absent a court order to the contrary, the Nonparty
22          shall bear the burden and expense of seeking protection in this Court of its
23          Protected Material.
24
25   11.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
26          If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
27   Protected Material to any person or in any circumstance not authorized under this
28   Stipulated Protective Order, the Receiving Party immediately must (1) notify in writing
      ____________________________________________________________________________________________________
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                                  [PROPOSED] PROTECTIVE ORDER
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 1   the Designating Party of the unauthorized disclosures, (2) use its best efforts to retrieve
 2   all unauthorized copies of the Protected Material, (3) inform the person or persons to
 3   whom unauthorized disclosures were made of all the terms of this Stipulated Protective
 4   Order, and (4) request such person or persons to execute the “Acknowledgment and
 5   Agreement to be Bound” (Exhibit A).
 6
 7   12.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 8          PROTECTED MATERIAL
 9          When a Producing Party gives notice to Receiving Parties that certain inadvertently
10   produced material is subject to a claim of privilege or other protection, the obligations of
11   the Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B).
12   This provision is not intended to modify whatever procedure may be established in an e-
13   discovery order that provides for production without prior privilege review. Pursuant to
14   Federal Rule of Evidence 502(d) and (e), insofar as the parties reach an agreement on the
15   effect of disclosure of a communication or information covered by the attorney-client
16   privilege or work product protection, the parties may incorporate their agreement in the
17   Stipulated Protective Order submitted to the Court.
18
19   13.    MISCELLANEOUS
20          13.1. Right to Further Relief.
21                  Nothing in this Stipulated Protective Order abridges the right of any person
22          to seek its modification by the Court in the future.
23          13.2. Right to Assert Other Objections.
24                  By stipulating to the entry of this Stipulated Protective Order, no Party
25          waives any right it otherwise would have to object to disclosing or producing any
26          information or item on any ground not addressed in this Stipulated Protective
27          Order. Similarly, no Party waives any right to object on any ground to use in
28          evidence of any of the material covered by this Stipulated Protective Order.
      ____________________________________________________________________________________________________
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                                 [PROPOSED] PROTECTIVE ORDER
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 1          13.3. Filing Protected Material.
 2                  A Party that seeks to file under seal any Protected Material must comply
 3          with Local Rule 79-5. Protected Material may only be filed under seal pursuant to
 4          a court order authorizing the sealing of the specific Protected Material at issue. If a
 5          Party's request to file Protected Material under seal is denied by the Court, then the
 6          Receiving Party may file the information in the public record unless otherwise
 7          instructed by the Court.
 8
 9   14.    FINAL DISPOSITION
10          After the final disposition of this Action, within sixty (60) days of a written request
11   by the Designating Party, each Receiving Party must return all Protected Material to the
12   Producing Party or destroy such material. As used in this subdivision, “all Protected
13   Material” includes all copies, abstracts, compilations, summaries, and any other format
14   reproducing or capturing any of the Protected Material. Whether the Protected Material is
15   returned or destroyed, the Receiving Party must submit a written certification to the
16   Producing Party (and, if not the same person or entity, to the Designating Party) by the
17   60-day deadline that (1) identifies (by category, where appropriate) all the Protected
18   Material that was returned or destroyed and (2) affirms that the Receiving Party has not
19   retained any copies, abstracts, compilations, summaries or any other format reproducing
20   or capturing any of the Protected Material. Notwithstanding this provision, Counsel is
21   entitled to retain an archival copy of all pleadings; motion papers; trial, deposition, and
22   hearing transcripts; legal memoranda; correspondence; deposition and trial exhibits;
23   expert reports; attorney work product; and consultant and expert work product, even if
24   such materials contain Protected Material. Any such archival copies that contain or
25   constitute Protected Material remain subject to this Stipulated Protective Order as set
26   forth in Section 5.
27
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                                 [PROPOSED] PROTECTIVE ORDER
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 1   15.    VIOLATION
 2          Any violation of this Stipulated Order may be punished by any and all appropriate
 3   measures including, without limitation, contempt proceedings and/or monetary sanctions.
 4
 5   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 6
 7   DATED:         June 28, 2022               DLA PIPER LLP
 8
                                                By:           /s/ Tamany J. Vinson Bentz
 9                                                      Tamany J. Vinson Bentz
                                                        Jonathan D. Kintzele
10
                                                        Attorneys for Plaintiff
11
12
     DATED:         June 28, 2022               JULANDER, BROWN & BOLLARD
13
14                                              By:           /s/ Dirk O. Julander
                                                        Dirk O. Julander
15                                                      Catherine A. Close
16                                                      M. Adam Tate
                                                        Attorneys for Defendants
17
18
19   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
20
21
22   DATED: June 29, 2022
                                                      Maria A. Audero
23                                              United States Magistrate Judge
24
25
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      ____________________________________________________________________________________________________
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                                 [PROPOSED] PROTECTIVE ORDER
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 1                                              EXHIBIT A
 2                ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3           I, _____________________________ [full name], of _____________________
 4   _____________________ [address], declare under penalty of perjury that I have read in
 5   its entirety and understand the Stipulated Protective Order that was issued by the United

 6   States District Court for the Central District of California on ___________ [date] in the
     case of Breaking Code Silence v. McNamara, et al., CDCA Civil Case No. 2:22-cv-
 7
     002052-MAA. I agree to comply with and to be bound by all the terms of this Stipulated
 8
     Protective Order and I understand and acknowledge that failure to so comply could
 9
     expose me to sanctions and punishment in the nature of contempt. I solemnly promise
10
     that I will not disclose in any manner any information or item that is subject to this
11
     Stipulated Protective Order to any person or entity except in strict compliance with the
12
     provisions of this Stipulated Protective Order.
13
             I further agree to submit to the jurisdiction of the United States District Court for
14   the Central District of California for the purpose of enforcing the terms of this Stipulated
15   Protective Order, even if such enforcement proceedings occur after termination of this
16   action. I hereby appoint __________________________ [full name] of
17   ____________________________________________ [address and telephone number]
18   as my California agent for service of process in connection with this action or any
19   proceedings related to enforcement of this Stipulated Protective Order.
20
21   Signature:                                         _________________________________
22   Printed Name:                                      _________________________________
23   Date:                                              _________________________________

24   City and State Where Sworn and Signed:             _________________________________

25
26
27
28
      ____________________________________________________________________________________________________
                                              15
                                 [PROPOSED] PROTECTIVE ORDER
